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                                                                                        FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS


                        IN THE UNITED STA TES DISTRICT COURT   AUG 10 2015
                            EASTERN DISTRICT OF ARKANSAS JAME~H~~K
                                 WESTERNDIVISION           By: ~K

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                     NO. 4:14CR00010-16 JLH

WILLIE A. TENSLEY                                                                      DEFENDANT

                                              ORDER

       Court convened for a scheduled change of plea hearing in this matter on this date. During

the course of the hearing, the Court was informed that defendant's true name is Willie A. Tensley.

Therefore, the Clerk is directed to take the appropriate steps to reflect that defendant's correct name

is Willie A. Tensley.

       IT IS SO ORDERED this        /j;Jrl-day of August, 2015.
